Case 1:22-cv-01032-PKC-JRC Document 213 Filed 05/02/23 Page 1 of 11 PageID #: 4156




   UNITED
       I
          STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
         I

         I
                         -------------------------------------X
   IME WATCHDOG, INC.,
                                                                    Case No.: 1:22-cv-1032 (PKC) (JRC)
                                            Plaintiff,
                                                                    REPLY DECLARATION OF
                          -against-                                 CARLOS ROA IN FURTHER
                                                                    SUPPORT OF PLAINTIFF'S ORDER TO
   SAF~ ABDULRAHIM GELARDI, VITO GELARDI,                           SHOW CAUSE FOR CONTEMPT AND
   GREGORY ELEFTERAKIS, ROMAN POLLAK,                               FOR AN ORDER OF ATTACHMENT
       I
   ANTHONY BRlDDA, NICHOLAS ELEFTERAKIS,                            PURSUANT TO RULE 64 OF THE
   NICHpLAS LIAlGS, and IME COMPANIONS LLC,                         FEDERAL RULES OF CIVIL
                                                                    PROCEDURE & ARTICLE 62 OF
                                            Defendants.             THE NEW YORK CIVIL
         j
   ------- ----------------------------------------------X
   SAFAJ GELARDI and IME COMP ANIONS, LLC,
                                                                    PRACTICE LAW & RULES


                                        Third-Party Plaintiffs,

             I            -against-

   cARI.Jos ROA,
                                        Third-Party Defendant.
                                                        --X
   cAR.tos ROA,
                                 Third-Party Counter-Claimant,

                          -against-

   SAFA ABUDLRAHIM GELARDI, VITO GELARDI,
   and IM:E COMPANIONS, LLC,

                 I               Third-Party Counter-Defendants.
                            -----------------------------------X
                 ~. Carlos Roa, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the
                 I




   following is true and correct:

                 I
                     I
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       1. 1I am President of Operations at IME Watchdog, Inc (hereinafter the "IME Watchdog"), the
   Plaintr f in the above-captioned case.

      2. As such, I am fully familiar with the fa.cts ,u1d circumstances set forth below, based upon

   the faJts known to me to be true, my review of the books, records, and Court Orders maintained

   by the !P laintiff and conversations I have had with the principals and employees of Plaintiff.

      3. On April 19, 2023, I spoke to Mayra Gomez ("Ms. Gomez"), an independent contractor

   w ho prfonns IME observer services fo r IME WatchDog.

      4. Ms. Gomez showed me a photo she took of an individual attending an independent medical

   examit ation ("!ME") for one Rafael Cu axil.

      5. I identified that individual as Fari GutieITez ("Gutierrez"), as J know what Gutienez looks

   like be ause I met him w hen I worked for the Defendants and have interacted with him in the past.

      6. I performed a search of the New York State Court Electronic F iling ("NYSCEF") system

   for ·'Rj fae l Cuax il," and lem11ed that he is represented by Ginarte, Gallardo, Gonzalez, W inograd,

   today known as Ginarte, Gonzalez, Winograd (hereinafter "Gi.nait e"), a law fi rm on the Enjoined

   Custotjers List. See Index No.: 609954/2021 (Nassau County Supreme Court), NYSCEF Docket

   Ent1y I ; see also copy ofNYSCEF Case Detai l page annexed hereto as Exhibit "A."

      7. l Also attached hereto as Exhibits "B," "C," and "D" are pictures that contain a fai.r and

   acc.ura e r~pri:;sent3.tion of th~ photos I saw, wh~re T id~ntified Fari Gutierr~z.

           I declare w1der penalty of pe1jrny that the forego ing is true and correct. Executed on

   May 2 , 2023.

                                                          ~ ~
                                                          C rlos ROJ (MJy 2, 202117 54 EDT)

                                                                        CARLOS ROA
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                 EXHIBIT A
Case 1:22-cv-01032-PKC-JRC Document 213 Filed 05/02/23 Page 4 of 11 PageID #: 4159
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                    EXHIBIT B
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                    EXHIBIT C
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                    EXHIBIT D
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2023-~05-02 Reply Declaration of Carlos Roa
Final Audit Report                        I                                                    2023-05-02

     Created:               2023-05-02

     By:                    Emanuel Kataev (mail@emanuelkataev.com)

     Status:                Signed

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